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                  IN THE UNITED STATES JUDICIAL DISTRICT COURT
                   FOR THE DISTRICT OF UTAH, CENTRAL DIVISION


 KANE COUNTY, UTAH (2), (3) and (4),
 a Utah political subdivision; and STATE OF         PLAINTIFFS’ MOTION FOR
 UTAH,
                                                 PARTIAL SUMMARY JUDGMENT
        Plaintiffs,                              G9000 HOLE IN THE ROCK ROAD
 v.

 UNITED STATES OF AMERICA,                              Case No. 2:10-cv-01073

        Defendant,                            (consolidated with 2:11-cv-1031, 2:12-cv-476)

 and                                                  Judge: Hon. Clark Waddoups

 SOUTHERN UTAH WILDERNESS
 ALLIANCE, ET AL.,

       Defendant-Intervenors.
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                           STATEMENT OF RELIEF REQUESTED

         This consolidated lawsuit arises under the federal Quiet Title Act, 28 U.S.C. § 2409a

(“QTA”) and involves rights-of-way for several hundred roads in Kane and Garfield County,

Utah. Plaintiffs Garfield County, Utah (“Garfield County” or “County”) and the State of Utah

(“State”), file this Motion For Partial Summary Judgment – G90001 Hole in the Rock Road to

confirm their existing title to the right-of-way for the road.2 The State and County claim

ownership of the right-of-way for the Hole in the Rock Road pursuant to a federal statute

known as R.S. 2477.3 The undisputed material facts show that the grant of the right-of-way

for the Hole in the Rock Road was accepted prior to 1976, and likely as early as 1879.

Accordingly, for the reasons set forth below, the Court should grant partial summary

judgment in favor of the State and Garfield County confirming their existing title to an R.S.

2477 right-of-way for the G9000 Hole in the Rock Road, while reserving the issue of scope

for future proceedings.

                                        INTRODUCTION

         Congress enacted R.S. 2477 to liberally grant highway rights-of-way on public land

for the use and benefit of settlers, miners, explorers and the traveling public. This

congressional land grant serves a vital role in Utah where nearly seventy percent of the land is

federal land, land ownership is checkerboarded in many areas, and R.S. 2477 is the sole legal


1
    Formerly County Road 1002; SGID road identification number RD090108.
2
    Cause of Action No. 2, State of Utah and Garfield County Complaint (ECF 2), 2:11-cv-1045.
3
  Section 8 of the Mining Law of 1866, 14 Stat. 253, later codified as Revised Statute 2477, and
later as 43 U.S.C. § 932 (repealed) (hereinafter “R.S. 2477”), provides: “And be it further
enacted, That the right of way for the construction of highways over public lands, not reserved
for public uses, is hereby granted.”
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authority for the vast majority of the public highways linking communities, businesses,

homes, ranches, and spectacular public lands. For 110 years R.S. 2477 implemented the

congressional intent of promoting exploration, settlement, and development of the West. It

was a simple law that operated with ease: state and local governments, or the public, could

accept the grant of a right-of-way by building and using a road.

       The G9000 Hole in the Rock Road is one of many historic public highways for which

an R.S. 2477 right-of-way was accepted by both public use and government action. First, the

public has traveled the Hole in the Rock Road for over 140 years. The road appears on a

United States General Land Office cadastral survey plat as early as 1896, and by 1915 a

cadastral survey plat designated the G9000 Hole in the Rock Road as the Main Desert Road

“to Escalante”. The general public continues to travel the Hole in the Rock Road as a public

highway linking the town of Escalante and Lake Powell.

       Second, the State and County accepted an R.S. 2477 right-of-way for the Hole in the

Rock Road by designating the road as a Class B General Public Highway in the 1930s. Using

state road funds, Garfield County has improved and regularly maintained the road for safe

travel for nearly 90 years. The road provides access to heavily visited destinations within

Garfield and Kane Counties such as Dance Hall Rock and the Hole-in-the-Rock historical

marker at Lake Powell.

       The creation of the Grand Staircase-Escalante National Monument (“Monument”) in

1996, as well as expanded facilities at Dance Hall Rock in Kane County and improved

facilities in Devils Rock Garden at the Garfield/Kane border, have resulted in a dramatic

increase in travel on the Hole in the Rock Road.

                                                   2
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       Historically, the State and County and the broader public enjoyed quiet and peaceful

use of their roads. Garfield County and the BLM worked cooperatively to meet the need for a

safe and efficient transportation system. Commencing in the 1990s, the BLM changed course

and decided that it would proceed to manage roads crossing federal land as if there were no

R.S. 2477 rights-of-way. In February of 2000, the BLM adopted its first Management Plan

(“Plan”) for the Monument. The Plan stated that it will be administered subject to valid

existing R.S. 2477 rights-of-way, but also admits that the BLM chose to ignore whether any

State or County rights-of-way existed or would be affected by the Monument Plan.

       Without considering its impact, the Plan imposed the BLM’s unilateral decisions

affecting public transportation in the Monument, including purporting to prohibit off-highway

vehicles from traveling the G9000 Hole in the Rock Road and impeding the County’s ability to

keep the road in safe, passable condition.

       The United States has taken wholly inconsistent positions regarding the State’s and

County’s title to the right-of-way for the G9000 Hole in the Rock Road, including that it does not

dispute the State and County’s title and that it does dispute title. Accordingly, partial summary

judgment confirming the State and County’s existing title is in the public interest.

            STATEMENT OF UNDISPUTED MATERIAL FACTS AND ISSUES

      I.       THE PARTIES, INTERESTS AND APPLICABLE LAW.

       1.      The G9000 Hole in the Rock Road is 16.58 miles long on the Garfield County

side and is located in south-central Garfield County, Utah. See generally G9000 Hole in the

Rock Road State Recordation recorded on May 12, 2008 in Book 430, Page 614, a copy of which



                                                  3
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is attached as Exhibit 1.4 See Declaration of Michelle Baragona, a copy of which is attached as

Exhibit 36.

        2.      The United States is the owner of the lands crossed by the road and right-of-way.

Exhibit 1 at 3 (map) and 6 (ownership).

        3.      The State is one of the fifty sovereign states forming the United States of

America, having been admitted to the Union on January 4, 1896. See Utah Enabling Act, chap.

138, 28 Stat. 107 (1894).

        4.      The State complied with the QTA’s 180-day advance notice provision in 28

U.S.C. § 2409a(m) by notifying the Secretary of the Department of the Interior of its intent to file

suit. See Notices of Intent to Sue dated June 14, 2000 (Tr. Ex. 613) and December 12, 2011,

copies of which are attached as Exhibits 2 and 3.

        5.      Garfield County is a local political subdivision of the State of Utah. See Utah

Code Ann. § 17-50-302(2).

        6.      The State and County own title to, and have statutory duties regarding, county

roads, public highways, and their rights-of-way within Garfield County, Utah. See Utah Code

Ann. §§ 17-50-309, 72-3-103, 72-5-103–105, and 72-5-302.

    A. State of Utah Highway Law.

        7.      As enacted in 1898, Utah law provided: “In all counties of this state, all roads,

streets, alleys, lanes, courts, places, trails, and bridges laid out or erected as such by the public, or




4
 The exhibits referenced herein are contained in the State and County Appendix of Evidence
submitted pursuant to DUCivR 56-1(e).
                                                    4
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dedicated or abandoned to the public . . . are public highways.” Utah. Rev. Stat., Title 25, Ch. 1,

§ 1114 (1898).

       8.        Separately, a public highway would “be deemed to have been dedicated and

abandoned to the use of the public when it has been continuously used as a public thoroughfare

for a period of ten years.” Utah. Rev. Stat., Title 25, Ch. 1, § 1115 (1898). The ten-year user

statute remains in Utah law. Utah Code Ann. § 72-5-104(2).

       9.        By 1938, Utah law designated a class of county roads as “Class B roads, and such

roads shall be constructed and maintained by or under the authority of the county commissioners

of respective counties from funds made available for that purpose . . . .” Utah Code Ann. § 36-6-

28 (1943).

       10.       By 1938, State motor vehicle funds were distributed through the State Road

Commission to the counties to construct and maintain county Class B roads. Id.; see also Utah

Code Ann. § 36-2-17 (1943). Class B roads continue to be roads that are constructed and

regularly maintained by the counties using appropriated State and County funds. See Utah Code

Ann. § 72-3-103.

       11.       “The state and county have joint undivided title to all rights-of-way for all county

roads.” Utah Code Ann. §§ 72-3-103(3) and 72-3-105(3).

       12.       Once established, public highway rights-of-way cannot be abandoned or vacated

except by formal action, notwithstanding the passage of time or whether the servient estate is

transferred out of the public domain. Utah Code Ann. §§ 72-5-305 and 72-3-108.




                                                   5
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   B. R.S. 2477 And Department Of The Interior Interpretive Regulations.

       13.     Across the years, the Department of the Interior (“DOI”) adopted numerous

regulations and policies interpreting the congressional grant of R.S. 2477 rights-of-way.

       14.     As of and following 1939, R.S. 2477 interpretive regulations found at 43 C.F.R.

§244.55 (1939) stated:

       [R.S. 2477] becomes effective upon the construction or establishing of highways,
in accordance with the State laws, over public lands not reserved for public uses. No
application should be filed under said R.S. 2477 as no action on the part of the Federal
Government is necessary.

       15.     As of and following 1963, R.S. 2477 interpretive regulations found at 43 C.F.R. §

244.58 (1963) stated:

        Grants of [R.S. 2477 rights-of-way] become effective upon the construction or
establishment of highways, in accordance with the State laws, over public lands, not
reserved for public uses. No application should be filed under R.S. 2477, as no action
on the part of the Government is necessary.

       16.     As of and following 1974, R.S. 2477 interpretive regulations found at 43 C.F.R.

§§ 2822.1-2 & 2822.2-1 (1974) stated:

       No application should be filed under R.S. 2477, as no action on the part of the
Government is necessary .… Grants of [R.S. 2477 rights-of-way] become effective
upon the construction or establishment of highways, in accordance with the State laws,
over public lands, not reserved for public uses.

       17.     As of and following 1986, the BLM’s R.S. 2477 interpretive policies stated that

the “grant became fixed when a highway was constructed and accepted as a public highway. * *

* State law specifying widths of public highways within the State shall be [used] . . . to




                                                 6
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determine the width of the RS 2477 grant.” BLM Manual 2801, Rel. 2-2295 (Tr. Ex. 565), a copy

of which is attached as Exhibit 4. The quoted text is found at Exhibit 4, p. 4.

          18.     “Authorized officers shall presume that pre-FLPMA roads, that evidence

construction and open use by the public and not acknowledged by the Bureau, are authorized

under RS 2477. The presumption shall be held until the road is found not to be authorized under

RS 2477.” Exhibit 4, p. 4.

          19.     “Road maintenance over several years may equal construction. When public funds

have been spent on the road it shall be considered a public road.” Exhibit 4, p. 4 (emphasis

added).

          20.     “When the history of a road is unknown or questionable, its existence in a

condition suitable for public use is evidence that construction sufficient to cause a grant under RS

2477 has taken place.” Exhibit 4, p. 4.

          21.     On January 22, 1997, Secretary of Interior Bruce Babbitt revoked DOI’s prior

policies. See Interim Departmental Policy dated January 22, 1997 (Tr. Ex. 608), a copy of which

is attached as Exhibit 5.6 Under the Babbitt Policy, the DOI would not address R.S. 2477 rights-

of-way absent compelling circumstances. Exhibit 5, p. 2.




              5
          BLM Manuals, Handbooks, and Instruction Memoranda are official agency
 directives that contain internal BLM policy and program direction. See
 https://www.blm.gov/policy/manuals.
          6
         In 2006, Secretary of Interior Gale Norton adopted a new policy that revoked the
 Babbitt Policy. Secretary Norton’s policy has been withdrawn and is not relevant to the
 issues presented in this motion.

                                                   7
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   II.          THE R.S. 2477 RIGHT-OF-WAY FOR THE G9000 HOLE IN THE ROCK
ROAD.

    A. Description Of The G9000 Hole In The Rock Road And The Lands Crossed By Its
       R.S. 2477 Right-of-Way.

        22.     The G9000 Hole in the Rock Road crosses public land owned by the United States

and managed by the BLM. Exhibit 1, p. 6. The centerline course of the road is depicted by map

(id. at 3) and is described with particularity by course and location across 23 pages of detail. Id.,

pp. 14-36. The road commences on the north at its intersection with Highway 12 and proceeds

south 16.57 miles, more or less, to the Kane County border.7 Id. at 3.

        23.     The Hole in the Rock Road crosses Section 36 in Township 35 South, Range 3

East, S.L.M. Exhibit 1, p. 5.

        24.     The BLM’s Historical Index8 for the relevant sections in this township shows that

the lands were available, and not reserved for public purposes, until October 21, 1976 when R.S.

2477 was repealed by the Federal Land Policy & Management Act of 1976 (“FLPMA”), Pub.L.

No. 94-579 § 706(a), 90 Stat. 2743. A copy of the BLM’s Historical Index for Township 35

South, Range 3 East, S.L.M., is attached as Exhibit 6.




        7
        The road continues south through Kane County until its terminus at the Colorado
River/Lake Powell. This motion, however, involves only the section of road within Garfield
County.
        8
          “Much like a county recorder’s tract index records documented actions affecting
private land, the BLM maintains a Historical Index for each township to document BLM actions
affecting the public land.” Kane Cnty. (1) v. United States, No. 2:08-cv-00315, 2013 U.S. Dist.
LEXIS 40118, at *13 (D. Utah Mar. 20, 2013). “A Historical Index contains entries showing the
specific section and division of the land affected, along with the type of BLM action, such as a
land reservation, patent, lease or permit.” Id.
                                                   8
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       25.     The Hole in the Rock Road crosses Sections 6, 7, 8, 16, 17, 21, 22, 27, 34, and 35

in Township 36 South, Range 4 East, S.L.M. Exhibit 1, p. 5.

       26.     The BLM’s Historical Index for the relevant sections in this township shows that

the lands were available, and were not reserved for public purposes, until October 21, 1976 when

R.S. 2477 was repealed by FLPMA. A copy of the BLM’s Historical Index for Township 36

South, Range 4 East, S.L.M., is attached as Exhibit 7.

       27.     The Hole in the Rock Road further crosses Sections 2, 11, 12 and 13 in Township

37 South, Range 4 East, S.L.M. Exhibit 1, p. 5.

       28.     The BLM’s Historical Index for the relevant sections in this township shows that

the lands were available, and were not reserved for public purposes, until October 21, 1976 when

R.S. 2477 was repealed by FLPMA. A copy of the BLM’s Historical Index for Township 37

South, Range 4 East, S.L.M., is attached as Exhibit 8.

       29.     The Hole in the Rock Road further crosses Sections 18, 19, 29, 30, 32, and 33 in

Township 37 South, Range 5 East, S.L.M. Exhibit 1, p. 5.

       30.     The BLM’s Historical Index for the relevant sections in this township shows that

the lands were available, and were not reserved for public purposes, until October 21, 1976 when

R.S. 2477 was repealed by FLPMA. A copy of the BLM’s Historical Index for Township 37

South, Range 5 East, S.L.M., is attached as Exhibit 9.

   B. The State And Garfield County’s Acceptance Of The R.S. 2477 Right-of-Way For
      The G9000 Hole In The Rock Road.

       31.     Historical documents prepared by the BLM confirm the historical existence of the

G9000 Hole in the Rock Road as a public thoroughfare. In 1893 and 1894, the U.S. Surveyor

General’s Office field-surveyed the lands crossed by Hole in the Rock Road in Section 36 of
                                                9
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Township 35 South, Range 3 East, S.L.M., and the survey plat for the lands was accepted on

November 4, 1896. A copy of the BLM’s Cadastral Survey Plat for Township 35 South, Range 3

East, S.L.M., is attached as Exhibit 10.

       32.     The G9000 Hole in the Rock Road is shown in more or less the same location as

it remains today. Id.

       33.     In 1893 and 1913, the U.S. Surveyor General’s Office field-surveyed the lands

crossed by Hole in the Rock Road in Sections 6, 7, 8, 16, 17, 21, 22, 27, and 34 of Township 36

South, Range 4 East, S.L.M., and the survey plat for the lands was accepted on June 30, 1915. A

copy of the BLM’s Cadastral Survey Plat for Township 36 South, Range 4 East, S.L.M., is

attached as Exhibit 11.

       34.     The G9000 Hole in the Rock Road is shown in more or less the same location as

it remains today. Id. The road was designated as the road to “Escalante” and “Fifty-Mile.” Id.

       35.     In 1913, the U.S. Surveyor General’s Office field-surveyed the lands crossed by

the Hole in the Rock Road in Sections 2, 3, 11, 12 and 13 of Township 37 South, Range 4 East,

S.L.M., and the survey plat for the lands was accepted on June 30, 1915. A copy of the BLM’s

Cadastral Survey Plat for Township 37 South, Range 4 East, S.L.M., is attached as Exhibit 12.

       36.     The G9000 Hole in the Rock Road is shown in substantially the same location as

it remains today and was designated as the “Main Desert Road.” Id.

       37.     In 1923, the U.S. Surveyor General’s Office field-surveyed the southern boundary

of Township 37 South, Range 5 East, S.L.M., and the survey plat for the lands was accepted on

May 20, 1924. A copy of the BLM’s Cadastral Survey Plat for Township 37 South, Range 5

East, S.L.M., is attached as Exhibit 13.

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       38.     The G9000 Hole in the Rock Road is indicated in more or less the same location

as it remains today. Id. The road was identified as “To Escalante” and “To Hole in the Rocks.”

Id.

       39.     In 1954, the BLM conducted a dependent resurvey of portions of Township 37

South, Range 5 East, S.L.M., and the survey plat for the lands was accepted on June 6, 1955. A

copy of the BLM’s Cadastral Survey Plat for Township 37 South, Range 5 East, S.L.M., is

attached as Exhibit 14.

       40.     The G9000 Hole in the Rock Road is indicated in more or less the same location

as it remains today. Id. The road was identified as “To Hole in the Rock.” Id.

       41.     Prior to 1976 the United States prepared several topographic maps depicting the

existence and location of the G9000 Hole in the Rock Road. The United States Army Corps of

Engineers, Army Map Service, Escalante, Utah topographic map dated 1956, and prepared from

United States Geological Survey (“USGS”) maps and surveys in 1951-53, shows the Hole in the

Rock Road in substantially the same location as its current location for the entirety of the road. A

copy of this map is attached as Exhibit 15.

       42.     The USGS Dave Canyon, Utah Quadrangle 7.5 Minute topographic map dated

1964, and prepared from aerial imagery collected in 1958, shows the Hole in the Rock Road in

substantially the same location as its current location for the roughly three miles of road covered

by the map. A copy of this map is attached as Exhibit 16.

       43.     The USGS Tenmile Flat, Utah Quadrangle 7.5 Minute topographic map dated

1964, and prepared from aerial imagery collected in 1958, shows the Hole in the Rock Road in



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substantially the same location as its current location for the roughly six miles of road covered by

the map. A copy of this map is attached as Exhibit 17.

       44.     The USGS Sheep Flat, Utah Quadrangle 7.5 Minute topographic map dated 1964,

and prepared from aerial imagery collected in 1958, shows the Hole in the Rock Road in

substantially the same location as its current location for the roughly six miles of road covered by

the map. A copy of this map is attached as Exhibit 18.

       45.     The USGS Sunset Flat, Utah Quadrangle 7.5 Minute topographic map dated 1964,

and prepared from aerial imagery collected in 1958, shows the Hole in the Rock Road in

substantially the same location as its current location for the roughly one mile of road covered by

the map. A copy of this map is attached as Exhibit 19.

       46.     The BLM’s 1969 Kanab District Recreation Map shows the Hole in the Rock

Road in substantially the same location as its current location. A copy of this map (Tr. Ex. 281)

is attached as Exhibit 20.

   C. The State And County’s Formal Acceptance Of The R.S. 2477 Right-of-Way For
      The Hole In The Rock Road.

       47.     Garfield County and the State, with the United States Department of Commerce,

Bureau of Public Roads, designated the G9000 Hole in the Rock Road as a Class B general

highway in 1937. A copy of Garfield County’s General Highway Map 1937 is attached as

Exhibit 21.

       48.     Similarly, Garfield County, the State, and United States agencies designated the

G9000 Hole in the Rock Road as a Class B general highway in 1951. A copy of Garfield

County’s General Highway Map 1951 is attached as Exhibit 22.


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       49.     Garfield County, the State, and United States agencies designated the G9000 Hole

in the Rock Road as a Class B general highway in 1970. A copy of Garfield County’s General

Highway Map 1970 is attached as Exhibit 23.

       50.     Garfield County, the State, and United States agencies designated the G9000 Hole

in the Rock Road as a Class B general highway in 1974. A copy of Garfield County’s General

Highway Map 1974 is attached as Exhibit 24.

       51.     Garfield County historically maintained the G9000 Hole in the Rock Road as one

of its Class B General Highways. See Meeting Minutes of Garfield County Commission (Apr.

16, 1962) (allocating funding to grade and gravel the “Escalante Desert Road”), a copy of which

is attached as Exhibit 25.

       52.     Norman Christensen worked for Garfield County’s Road Department in the late

1950s and early 1960s. Deposition of Norman Spencer Christensen, (transcript) pp. 47-49, an

excerpted copy of which is attached as Exhibit 26.

       53.     Mr. Christensen testified that he bladed and did other road work on the entire

length of the G9000 Hole in the Rock Road during his employment with Garfield County Roads.

Id.

       54.     Mr. Mac Barney, who was a seasonal employee of the Garfield County Road

Department in 1965, stated that he performed maintenance work on the entire length of the

G9000 Hole in the Rock Road during his tenure with the county road crew. See Declaration of

Mac C. Barney, a copy of which is attached as Exhibit 27.

       55.     Mr. Blaine Porter, who was a seasonal employee of the Garfield County Road

Department in 1975, stated that he performed maintenance work on the entire length of the

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G9000 Hole in the Rock Road during his tenure with the county road crew. See Declaration of

Blaine Porter, a copy of which is attached as Exhibit 28.

    D. Lands Formerly Owned By The Utah School And Institutional Trust Lands
       Administration.

        56.     As shown above, the G9000 Hole in the Rock Road crosses land within Section

36 of Township 35 South, Range 3 East. Exhibit 10. The road also crosses land within Section 16

of Township 36 South, Range 4 East. Exhibit 11. The G9000 Hole in the Rock Road crosses land

within Section 2 of Township 37 South, Range 4 East. Exhibit 12. The road also crosses land

within Section 32 of Township 37 South, Range 5 East. Exhibit 14.

        57.     Generally, title to sections 2, 16, 32, and 36 of each township was granted to the

State of Utah as a territorial and statehood land grant and these sections are commonly referred

to as Utah School and Institutional Trust Lands Administration (“SITLA”) parcels. See Exhibit

6, p. 1 (Territorial and State grant). Title to the SITLA parcels would “fix on approval of survey;

subj[ect] to prior rights.” Id.

        58.     As shown above, the Cadastral Survey Plat for Section 36, Township 35 South,

Range 3 East was approved in 1896. Exhibit 10. The plat for Section 16, Township 36 South,

Range 4 East was approved in 1915. Exhibit 11. The Cadastral Survey Plat for Section 2,

Township 37 South, Range 4 East was approved in 1915. Exhibit 12. The plat for Section 32,

Township 37 South, Range 5 East was approved in 1955. Exhibit 14.

        59.     On September 18, 1996, the BLM lands crossed by the G9000 Hole in the Rock

Road were withdrawn and included within the boundaries of the Monument. See Exhibit 6, p. 9

(Monument Proclamation 6920).


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       60.     The Monument was established “subject to valid existing rights.” Monument

Management Plan of 2000 and Proclamation 6920 (Tr. Ex. 1795) (“Plan”), p. 2, a copy of which

is attached as Exhibit 29.

       61.     “On May 8, 1998, the United States and the State entered an Agreement to

Exchange SITLA parcels (the ‘Exchange Agreement’).” Kane Cnty. I, 2013 U.S. Dist. LEXIS

40118, at *114. “It recognized that some SITLA parcels within the Monument had legal

encumbrances on them. Consequently, the Exchange Agreement stated the conveyances to the

United States ‘shall be subject to valid existing rights and interests outstanding in third parties.’”

Id.; see also Exchange Agreement (Tr. Ex. 299), p. 4, a copy of which is attached as Exhibit 30.

       62.     “On December 11, 1998, the State executed the Exchange Patent No. 19231 (the

‘Exchange Patent’). The Exchange Patent also stated the SITLA parcels shall be ‘[s]ubject to any

valid, existing easement or right of way of any kind.’” Kane Cnty. I, 2013 U.S. Dist. LEXIS

40118, at *115 (citation omitted). “Moreover, it stated the exchange was subject to the terms of

the Exchange Agreement, ‘including, without limitation, Section 4(A) (Valid Existing Rights),

Section 7 (Grazing Permits) and Section 9 (Surface Use and Rights of Way).’” Id.; see also

Exchange Patent, p. 23, a copy of which is attached as Exhibit 31.

       63.     The four SITLA parcels crossed by the G9000 Hole in the Rock Road were

conveyed to the United States, subject to valid existing rights, by Exchange Patent No. 19231.

Exhibit 31, p. 5 (Parcel No. 2034), p. 8 (Parcel No. 2060), p. 10 (Parcel No. 2083), and p. 11

(Parcel No. 2089).

       64.     As shown above, the State, Garfield County and agencies of the United States had

designated the G9000 Hole in the Rock Road as a State and Garfield County general public

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highway for the 60 years preceding the Exchange Patent in 1998 (see Exhibits 21-24) and the

United States accepted title to the former SITLA parcels “subject to any valid, existing easement

or right of way of any kind.” Kane Cnty. I, 2013 U.S. Dist. LEXIS 40118, at *115 (citation

omitted).

       65.     Accordingly, because the G9000 Hole in the Rock Road is shown to have pre-

dated the vesting of title to the former SITLA parcels in the State of Utah, an R.S. 2477 right-of-

way exists in favor of the State and Garfield County. In the alternative, title to a right-of-way or

easement for the Hole in the Rock Road remains vested in the State of Utah and Garfield County.

See Kane Cnty. I, 2013 U.S. Dist. LEXIS 40118, at *151-158.

   E. Acceptance of the G9000 Hole in the Rock Road R.S. 2477 Right-of-Way By Public
      Use Prior to 1976.

       66.     Witnesses with personal knowledge of the G9000 Hole in the Rock Road further

confirm public use of this road as a public highway on a continuous basis for more than ten years

prior to October 21, 1976 and dating back to the 1940s. Among other testimony not included

herein, Arnold Alvey testified that he began traveling the G9000 Hole in the Rock Road on a

seasonal basis in the 1940s, including daily for about 80 days during 1947-1948 in conjunction

with the making of a film. Deposition of Arnold Merrill Alvey, (transcript) pp. 82-92, an

excerpted copy of which is attached as Exhibit 32.

       67.     Dell LeFevre first traveled the G9000 Hole in the Rock Road in 1956 or 1957.

Deposition of Dell LeFevre, (transcript) pp. 155-161, an excerpted copy of which is attached as

Exhibit 33. Mr. LeFevre testified that he traveled the entire length of the road in a pickup truck

with his father, and he also testified that he traveled the road with a friend to go fishing in 1957

or 1958. Id. Mr. LeFevre further testified that he traveled the G9000 every day during the
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summer of 1959, from approximately May to September, in connection with his work on a

seismograph crew; he also used it in the 1970s to check cows. Id.

       68.     Sam Spencer first traveled the G9000 Hole in the Rock Road in 1957. Deposition

of Thurman Samuel Spencer, (transcript) pp. 52-54, an excerpted copy of which is attached as

Exhibit 34. Mr. Spencer testified that he had traveled the G9000 Hole in the Rock Road for two

weeks every spring, and periodically in the winter, from the age of five until the date of his

deposition in 2017. Id. He saw others traveling the road prior to 1976. Id.

   III.    THE STATE AND GARFIELD COUNTY FILED THIS ACTION WITHIN
12 YEARS OF NOTICE OF AN ADVERSE CLAIM TO TITLE TO THE RIGHT-OF-
WAY AT ISSUE.

       69.     The United States did not interfere with or dispute the existence of the State’s and

Garfield County’s R.S. 2477 right-of-way for the G9000 Hole in the Rock Road until after

February of 2000, when the BLM implemented the Monument Plan.

       70.     With the Monument Plan, the BLM adopted a transportation system for the roads

in the Monument. Map 2 of the Monument Plan reflects that the BLM purports to regulate the

G9000 Hole in the Rock Road and prohibit even street legal off-highway vehicles from traveling

the road. Monument Plan, Map 2 (Tr. Ex. 1083), a copy of which is attached as Exhibit 35.

       71.     Despite initially representing that the Monument Plan would be enforced “subject

to valid existing rights” (Exhibit 29, (plan) p. 46), the United States refuses to recognize any R.S.

2477 rights-of-way until adjudicated and has created a dispute as to title to the G9000 Hole in the

Rock Road. See generally Kane Cnty. v. United States, No. 2:10-cv-1073, 2024 U.S. Dist.

LEXIS 142312 (D. Utah Aug. 9, 2024).



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        72.     The United States’ express or implicit dispute as to title has been resolved by the

Court. Id.

                                  SUMMARY OF ARGUMENT

        Adopted in 1866, R.S. 2477 remained in effect for 110 years without amendment or

limitation. R.S. 2477 implemented the express congressional intent and public policy of

granting public highway rights-of-way wherever necessary and beneficial. This preeminent

federal statute served the national interest in facilitating the settlement of countless cities,

private lands, and businesses, and authorized the development of the West. The public rights-

of-way granted by this statute complement numerous public land laws, such as homestead,

grazing, and mining laws, and they provide for the public good. The R.S. 2477 right-of-way

for the G9000 Hole in the Rock Road provides access to public land and recreational sites,

access to other roads, and access to private land.

        As the movants, the State and Garfield County bear the burden of proving acceptance

of the grant of a right-of-way for the G9000 Hole in the Rock Road. Moreover, state law

determines whether the State and Garfield County or the public accepted the grant of an R.S.

2477 right-of-way for the road.

        Here, the State and Garfield County formally accepted the R.S. 2477 right-of-way for

the G9000 Hole in the Rock Road on or before 1937 by designating the road as a Class B

General Highway. As a Class B road, Garfield County operated, improved and regularly

maintained the G9000 Hole in the Rock Road using State and Garfield County funds.

        Additionally, more than ten years of continuous public use prior to 1976 confirms the

public’s acceptance of the grant of an R.S. 2477 right-of-way. Public use of the G9000 Hole in

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     the Rock Road since at least the 1940s further confirms acceptance of an R.S. 2477 right-of-

     way for the Hole in the Rock Road.

                                           LEGAL STANDARD

            Summary judgment is appropriate if “the movant shows that there is no genuine issue

     as to any material fact and the movant is entitled to judgment as a matter of law.” See Fed. R.

     Civ. P. 56(a). In considering a motion for summary judgment, the Court is to “view the

     evidence and draw reasonable inferences therefrom in the light most favorable to the

     nonmoving party.” Knopf v. Williams, 884 F.3d 939, 946 (10th Cir. 2018). “If the movant

     carries this initial burden, the non-movant may not rest upon its pleadings, but must set forth

     specific facts showing a genuine issue for trial as to those dispositive matters for which it

     carries the burden of proof.” Barney v. Pulsipher, 143 F.3d 1299, 1307 (10th Cir. 1998).

I.      CONGRESS ENACTED R.S. 2477 TO LIBERALLY GRANT PUBLIC HIGHWAY
        RIGHTS-OF-WAY.

            Congress enacted R.S. 2477 in section 8 of the Mining Law of 1866. “And be it further

     enacted, That the right of way for the construction of highways over public lands, not reserved

     for public uses, is hereby granted.” Act of July 26, 1866, ch. 262, § 8, 14 Stat. 251, 253, later

     codified as Revised Statute 2477.

            Congress freely granted R.S. 2477 rights-of-way for 110 years until the statute was

     repealed on October 21, 1976 by FLPMA. See 43 U.S.C. § 932. R.S. 2477 “was a standing

     offer of a free right-of-way over the public domain, and as soon as it was accepted in an

     appropriate manner by the agents of the public, or the public itself, a highway was established.”

     Streeter v. Stalnaker, 85 N.W. 47, 48 (Neb. 1901). As expressed in one of the first reported

     R.S. 2477 cases, such “roads facilitate the settlement of the country, and benefit the
                                                       19
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      neighborhood, and in both particulars they further a general policy of the federal government.

      But they also tend to increase the value of the public lands, and for this reason are favored.”

      Smith v. Mitchell, 58 P. 667, 668 (Wash. 1899), citing Flint & Pere Marquett Ry. Co. v.

      Gordon, 2 N.W. 648, 653 (Mich. 1879). R.S. 2477 “is an unequivocal grant of right of way for

      highways over public lands, without any limitation as to the method for their establishment.”

      Smith, 58 P. at 668. “They are usually along the most accessible routes of travel and conform

      to the physical conditions of the country, and, when generally traveled by the public without

      interruption or hindrance for a period of ten years, they must be regarded as firmly established

      in law.” Id. (applying Washington law). “It was the consistent policy of the BLM, as well as

      the courts, to look to common law and state law as setting the terms of acceptance of R.S. 2477

      grants.” SUWA v. BLM, 425 F.3d 735, 765 (10th Cir. 2005); see also id. at 768 n.19 (applying

      Utah ten-year public use statute).

             Despite repealing R.S. 2477, Congress preserved all valid existing rights. See 43 U.S.C.

      § 1701, note; 43 U.S.C. § 1769(a) (“Nothing in this subchapter shall have the effect of

      terminating any right-of-way or right-of-use heretofore issued, granted, or permitted.”).

      Accordingly, R.S. 2477 rights-of-way established prior to October 21, 1976, still exist today,

      and the BLM is under a legal duty to manage public lands subject to these valid-existing rights.

II.      THE REQUIREMENTS OF THE QUIET TITLE ACT.

         A. The Quiet Title Act.

             Garfield County brings this action under the Quiet Title Act, 28 U.S.C. § 2409a. In the

      QTA, Congress waived the sovereign immunity of the United States to allow claimants to

      confirm their existing title to property in which the United States claims an interest. “The

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United States may be named as a party defendant in a civil action under this section to

adjudicate a disputed title to real property in which the United States claims an interest, other

than a security interest or water rights.” 28 U.S.C. § 2409a(a).

       The majority of the reported case law under the QTA involves fee title claims against

the United States. This lawsuit, however, involves the specific case law addressing claims to

rights-of-way, which are non-possessory interests in the use of land. “A right of way is not

tantamount to fee simple ownership of a defined parcel of territory. Rather, it is an entitlement

to use certain land in a particular way.” SUWA, 425 F.3d at 747. “By its express terms, R.S. §

2477 grants a right-of-way, a species of easement across the public lands of the United States.”

United States v. Garfield County, 122 F. Supp. 2d 1201, 1242 (D. Utah 2000), citing Sierra

Club v. Hodel, 848 F.2d 1068, 1083 (10th Cir. 1988). The QTA allows the Court to quiet title

to non-possessory interests in the lands of the United States, including easements and rights-of-

way. “The quieting of title where the plaintiff claims an estate less than a fee simple, an

easement or the title to minerals, is likewise included in the terms of the proposed statute.”

H.R. Rep. No. 1559, 92d Cong., 2d Sess., reprinted in 1972 U.S.C.C.A.N. 4552.

       Initially, two conditions must be met for an action under the QTA. First, the United

States must claim an interest in the property, and second, there must be a dispute as to the

interest. See Leisnoi, Inc. v. United States, 170 F.3d 1188, 1191 (9th Cir. 1999). Additionally,

the QTA’s statute of limitations is 12 years for Garfield County and indeterminate for the State.

See 28 U.S.C. § 2409a(g), (j) and (k).

       The QTA’s statute of limitations is no longer considered to be a jurisdictional

requirement. See Wilkins v. United States, 598 U.S. 152, 155 (2023). Moreover, the statute of

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       limitations analysis is unique for non-possessory interests such as a right-of-way. “An

       easement, of course, is different. The government’s claim to ownership and control of the

       servient tenement can be entirely consistent with private ownership of an easement.”

       McFarland v. Norton, 425 F.3d 724, 726-27 (9th Cir. 2005). “To avoid forcing landowners and

       the government into ‘premature, and often unnecessary, suits,’ [] we should not lightly assume

       that regulatory or supervisory actions, as opposed to those that deny the easement’s existence,

       will trigger the statute of limitations.” Id. at 727, quoting Michel v. United States, 65 F.3d 130,

       132 (9th Cir. 1995). See also Skranak v. Castenada, 425 F.3d 1213, 1216 (9th Cir. 2005) (mild

       interference with the use of an easement pursuant to the government’s own property interests

       will not start the statute of limitations running.).

           B. The State and Garfield County Timely Filed this Action To Resolve A Disputed
              Title.

               The parties have already briefed, and the Court has already resolved, the motions to

       dismiss for lack of a dispute as to title and any issue implicating the QTA statute of limitation

       for the G9000 Hole in the Rock Road. See, e.g., Kane Cnty. I, 2024 U.S. Dist. LEXIS 142312,

       at * 60-95, 115-116. As shown in the undisputed facts and the Court’s decision, the State and

       Garfield County timely filed suit to resolve the existing title dispute over the R.S. 2477 right-

       of-way for the G9000 Hole in the Rock Road.

III.       GARFIELD COUNTY AND THE PUBLIC ACCEPTED THE RIGHTS-OF-WAY AT
           ISSUE ON UNRESERVED PUBLIC LANDS PRIOR TO OCTOBER 21, 1976.

               The G9000 Hole in the Rock Road has existed as a public highway since its original

       construction began in 1879. See, e.g., NETHELLA GRIFFIN WOOLSEY, THE ESCALANTE STORY

       367-380 (Art City Publishing Company 1964). The long history of this road makes application of

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R.S. 2477 very direct: a) whether the public lands were unreserved public lands; b) whether the

State and Garfield County accepted the right-of-way; and c) whether the public accepted the

grant.

   A. The Lands Crossed By The G9000 Hole in the Rock Road Were Unreserved Public
      Lands.

         The G9000 Hole in the Rock Road crosses lands in Township 35 South, Range 3 East

and Township 36 South, Range 4 East. The road also crosses lands in Township 37 South,

Ranges 4 and 5 East. The BLM’s Historical Indices for the sections crossed by the G9000 Hole

in the Rock Road confirm that the lands remained as unreserved public lands until after R.S.

2477 was repealed in 1976. See Statement of Facts (“SOF”), ¶¶ 22-30; see also Exhibits 6-9.

         As for the short segment of road crossing the former SITLA parcels, the sections were

subject to an R.S. 2477 right-of-way prior to the time that title vested in the State, or were

exchanged to the United States subject to a right-of-way or easement for the G9000 Hole in the

Rock Road. SOF, ¶¶ 56-65.

   B. Garfield County Accepted The R.S. 2477 Right-of-Way For The G9000 Hole In The
      Rock Road.

         The entirety of the G9000 Hole in the Rock Road has been a State and Garfield

County Class B General Highway since 1937. SOF ¶¶ 47-51; see also Exhibits 21-25. As a

practical matter, Garfield County’s Class B roads began as horse or wagon roads, but were

used, upgraded, constructed and improved over time to meet Class B standards. “Class B

roads [are] maintained to the level that a two-wheel drive passenger vehicle may navigate

them.” Kane Cnty. I, 2024 U.S. Dist. LEXIS 142312, at *17. The testimony of Norman

Christensen, along with the declarations of Mac Barney and Blaine Porter, confirm that

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Garfield County has maintained the G9000 Hole in the Rock Road as a Class B road since at

least the 1950s. SOF ¶¶ 52-55; see also Exhibits 26-28.

       The designation of the G9000 Hole in the Rock Road as a Class B General Highway

by the State, Garfield County, and agencies of the United States is an express or formal

acceptance of an R.S. 2477 right-of-way for the road. As it stands, the Court has held that title

to the G9000 is vested in the State and Garfield County. See Memorandum Decision and Order

Supplementing August 9, 2024 Decision (ECF 816), p. 3 (State and Garfield County hold

vested title to G9000 Hole in the Rock Road.).

       The R.S. 2477 right-of-way for the G9000 Hole in the Rock Road was accepted by the

State and Garfield County by its pre-1976 designation and operation as a Class B General

Highway.

   C. The R.S. 2477 Right-Of-Way For The G9000 Hole in the Rock Road Was Accepted
      By Public Use.

       In the absence of a governmental authority’s acceptance, continuous public use can

establish the public’s acceptance of an R.S. 2477 grant.

       It has been held by numerous courts that the grant may be accepted by
       public use without formal action by public authorities, and that continued
       use of the road by the public for such length of time and under such
       circumstances as to clearly indicate an intention on the part of the public
       to accept the grant is sufficient.

       SUWA, 425 F.3d at 771.

       Pursuant to Utah law, an R.S. 2477 right-of-way may be accepted by ten years of

continuous public use as a public thoroughfare. Id. at 769; see also Utah. Rev. Stat., Title 25,

Ch. 1, § 1115 (1898) (a public highway would “be deemed to have been dedicated and


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abandoned to the use of the public when it has been continuously used as a public thoroughfare

for a period of ten years.”).

        The concept of “continuous” use is not a measure of frequency. Even in the absence

of direct evidence of “actual use each year,” use may be continuous though not constant.

Richards v. Pines Ranch, Inc., 559 P.2d 948, 949 (Utah 1977), citing 1 Thompson on Real

Property, Specific Easement, § 464, p. 575 (1924). The frequency of use is “immaterial,

provided it occurred as often as the claimant had occasion or chose to pass. Mere intermission

is not interruption.” Id.

        Members of the public traveled the G9000 Hole in the Rock Road in motor vehicles

since at least the 1940s and continue to travel the road today. Arnold Alvey testified that he

began traveling the G9000 Hole in the Rock Road on a seasonal basis in the 1940s. SOF ¶ 66.

Dell LeFevre testified that he used the G9000 for various purposes from approximately 1956

through at least the 1970s. SOF ¶ 67. And Sam Spencer testified that he traveled the G9000

from 1957 up through the date of his deposition in 2017. SOF ¶ 68.

        This testimonial evidence, added to the fact that the G9000 Hole in the Rock Road has

consistently appeared as a road on maps from 1896 through the present, confirms the public

accepted an R.S. 2477 right-of-way for the Hole in the Rock Road.

        WHEREFORE, Garfield County and the State of Utah respectfully request the Court to

grant the Motion for Partial Summary Judgment quieting title to the right-of-way for the

G9000 Hole in the Rock Road, reserving the issue of scope for future proceedings.




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      DATED this 6th day of December, 2024.


                                       UTAH ATTORNEY GENERAL’S OFFICE

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                                       Kathy A.F. Davis
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                                       County, Utah




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